 

Case 1:19-cr-00028-SPW Document 11 Filed 04/15/19 Page 1 of 1

UNITED sTATEs DIsTRICT coURT ;;¢' § _. . t §

 

 

DISTRICT OF MONTANA
BILLINGS DIVISION

UNITED sTATEs 01= AMERICA,

Plai“tiff’ cR 19 28 BLG sPW
vs. APR 1 5 2019
MATTHEW GLENN DICKINSON, WARRANT FOR ARREST elem. u.s. com

D\stn'ct Of Montana
D f d t Bil|ings Division
all .
c en TO: UNITED sTATES MARSHAL AND ANY

 

AUTHORIZED UNITED STATES OFFICER

 

YOU AR.E HEREBY COMMANDED to arrest MATI`HEW GLENN DICKINSON and
take the arrested person without unnecessary delay before the nearest federal magistrate judge to
answer the lndictment charging him with Possession with Intent to Distribute Methamphetamine,
Distribution of Methamphetamine, Possession of a Stolen Firearm, and Felon in Possession of a
Firearm in violation of Title 21 U.S.C. § 84l(a)(l) and Title 18 U.S.C. §§ 922(j) and 922(g)(l).

Assigned to: Julie R. Patten, AUSA

 

l£»e/L_\.
Judi ades, ljeputy Clerk
AS RED BY U.S. MAGISTRATE JUDGE TlMOTI-IY J. CAVAN

Billings, Montana

BAIL FIXED AT NONE
Date of Issue: 213t day of March, 2019

 

 

RETURN

 

DATE RECEIVED: LOCATION:

EXECUTED BY ARREST OF T!-IE ABOVE-NAMED DEFENDANT

 

 

DATE OF ARREST: '7/[/'2, // ? Rod Ostermiller
' l
LOCATION= L,qy¢,€;,, / M»\- UNITED STATES MARSHAL

 

 

 

BY:A&-;-TJ m¢ t Deputy U.S. Marshal

 

 

 

 

